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Exhibit K

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Boston Book Festival cancels One City One
Story event amid plagiarism flap

By Graham Ambrose

GLOBE CORRESPONDENT AUGUST 14, 2018

The Boston Book Festival is canceling its popular One City One Story event, the latest
development in a controversy ignited by plagiarism allegations that dogged Sonya Larson’s
“The Kindest,” the work that had been selected for the marquee session, which will take

place in October.

Deborah Porter, founder and executive director of the festival, said yesterday’s decision was
made under some legal pressure brought by Dawn Dorland, who accused Larson of lifting

material from her Facebook post and using it in a section of her short story.

“This is not a happy choice for us, as we have already sunk resources, time, and effort into
this project. We are a tiny nonprofit with a very small staff, and we need to turn our
attention now to our central mission, which is producing the Boston Book Festival,” Porter

said in an e-mail.

Dorland said she took no pleasure from the resolution. “I find it personally painful that the
parties involved could not reconcile over the straightforward misrepresentation of another
writer’s original ideas, language — and in this case, personal trauma — as one’s own literary

creation,” she said.

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Larson has said that her former friend’s experience as a kidney donor served as inspiration

for her fictional story of a woman who was a kidney recipient. But she has steadfastly denied

plagiarizing from Dorland’s online post.

“Fiction writers regularly encounter ideas in the world — whether from ads, catalogues,
tombstones, or tweets — and we re-imagine and transform their elements for completely
fictional narratives,” Larson wrote in an e-mail to the Globe this weekend. “Let’s keep this in

perspective: Ms. Dorland’s letter was not art; it was correspondence that she posted on

Facebook.”

Larson said yesterday that her position had not changed and that she was considering her

own legal options.

The saga began in June when Dorland notified festival organizers of her concerns about
Larson’s story. After examining the evidence, festival officials asked Larson, a program

director at the GrubStreet literary center in Boston, to rework the contested section, and she

agreed to do so.

In response to the controversy, American Short Fiction, which published “The Kindest”
online in May, said in a June statement that “in the interests of finding an agreeable

solution, we decided to sunset” the story, which had already “completed a one-month run on

our website.”

Late last week Audible and Brilliance Audio said they would suspend audiobook sales of the
story. The decisions by the audiobook publishers, which are both owned by Amazon, came

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about after the discovery of a Brilliance version of the story, which contained more
similarities to Dorland’s Facebook post than did the Audible version or the one originally
accepted by the Boston Book Festival.

The origin tale of the Brilliance version contains twists worthy of a detective mystery.

Larson recorded “The Kindest” for Audible in 2016, according to Yael Goldstein Love,
editorial director of Plympton, which produces fiction for digital platforms. Goldstein Love
helped connect Larson and Audible and provided a chronicle of the publication process, an

account that was verified by Audible.

Around that same time, Dorland, who had heard about the existence of the story through a
mutual friend, confronted Larson by e-mail about it. Dorland said that she had not yet read
the piece and was unaware of any actual similarities. Instead she was upset to learn that a

focus of Larson’s tale was a kidney donation and that she had been left out of the loop.

After a tense e-mail exchange, Larson circled back to Audible and on July 15, 2016, asked to
re-record a short section of “The Kindest” — which included the material that would later

become the focus of the dispute.

“The Kindest” was then re-recorded, and that revised version was released by Audible in

August 2016 as a downloadable file.

But by mistake, Brilliance Audio accidentally published the original, unrevised version of

“The Kindest.”
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“Personally, my childhood was marked by trauma and abuse; I didn’t have the opportunity

to form secure attachments with my family of origin,” reads one line in Dorland’s letter.

“My own childhood was marked by trauma and abuse; I wasn’t given an opportunity to form
secure attachments with my family of origin,” reads the corresponding part of the Brilliance

version.

“T’ve always acknowledged that I read her letter and found it inspirational,” Larson wrote in

an e-mail this weekend. “What I consented to have published is fiction, as is its language.”

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When contacted for response over the weekend, Eve Bridburg, founder and executive
director of GrubStreet, said that “we’re naturally troubled when accusations of this nature
are raised, but the creative process is a complex one, and we do not publicly discuss specific
issues involving our employees.” On Monday a GrubStreet representative, who spoke on

behalf of Bridburg, who was on vacation, said she stands by the comment.

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